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     Temporary Conservator of the Person and
 8   Temporary Co-Conservator of the Estate
 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
                                   WESTERN DIVISION
12
13
     In re the Conservatorship of the Person   CASE NO. CV 08-1021 PSC (RCx)
14   and the Estate of
                                               DECLARATION OF ANDREW M.
15   BRITNEY JEAN SPEARS,                      WALLET IN SUPPORT OF
                                               MOTION TO REMAND [28 U.S.C.
16               Temporary Conservatee.        § 1447(c)]
17                                             Date: March 17, 2008
                                               Time: 1:30 p.m.
18                                             Place: Courtroom 790
                                                      Roybal Building
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 1                     DECLARATION OF ANDREW M. WALLET
 2         I, ANDREW M. WALLET, declare as follows:
 3         1.     I am an attorney licensed to practice before the courts of the State of
 4   California and am a member of the bar of this Court. I am a partner in the law firm
 5   of Hinojosa & Wallet. I am a certified specialist in probate, trusts, and estate
 6   planning, State Bar of California, Board of Legal Specialization. Along with James
 7   P. Spears (“Mr. Spears”), I am the temporary co-conservator of the estate of Britney
 8   Jean Spears. I have personal knowledge of the matters set forth below, and if
 9   required to do so, I would and could testify competently to the same.
10         2.     On February 1, 2008, Mr. Spears initiated the conservatorship
11   proceedings styled as In re the Conservatorship of the Person and Estate of Britney
12   Jean Spears, Case No. BP 108870 (the “Conservatorship Proceedings”) by filing
13   petitions for appointment of temporary conservators of the person and the estate
14   with the Probate Department of the Los Angeles Superior Court (the “Probate
15   Court”).
16         3.     On February 1, 2008, the Probate Court appointed me as a temporary
17   co-conservator of the estate of Britney Jean Spears (“Britney”). Letters of
18   Temporary Conservatorship of the Estate were issued to me on that day, and I have
19   been the duly appointed and acting temporary co-conservator of Ms. Spears’ estate
20   since February 1, 2008.
21         4.     During the 13-day period from February 1, 2008 until February 14,
22   2008, when attorney Jon Eardley purported to remove the Conservatorship
23   Proceedings to this Court, the Probate Court was presented with numerous serious
24   issues, including, inter alia: (1) the scope of powers to be granted to Mr. Spears as
25   conservator of the person and to Mr. Spears and me as co-conservators of the estate,
26   and modifications to those powers based upon new circumstances; (2) the issue
27   whether a conservatorship over Britney is appropriate, to be determined based upon
28   a report from an independent expert; (3) Britney’s capacity to engage an attorney to

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 1   represent her in this matter; (4) the propriety of a temporary restraining order against
 2   Britney’s self-styled “manager,” Osama (“Sam”) Lutfi; (5) whether the co-
 3   conservators should be given the power to terminate Britney’s business manager,
 4   Howard Grossman; and (6) an abortive challenge to the co-conservators, brought by
 5   Adam F. Streisand of Loeb & Loeb.
 6         5.     At the time of the purported removal, the Probate Court had scheduled
 7   two hearings: (1) the hearing on a civil harassment injunction against Mr. Lutfi,
 8   scheduled for February 22, 2008; and (2) the hearing on a permanent
 9   conservatorship, scheduled for March 10, 2008, at which time the Court must
10   determine, based upon expert and lay testimony, whether, inter alia, there is a
11   factual basis for making the conservatorship permanent and, if so, the powers to be
12   granted to the co-conservators of the estate.
13         6.     Prior to the purported removal, I was in the process of taking action
14   with respect to the myriad financial/legal/business issues that need immediate
15   attention. The Conservatorship estate is complex and fluid. The co-conservators
16   need to marshal assets, identify expenses and creditors, establish bank accounts, pay
17   bills, medical expenses, business expenses, real estate mortgages and taxes, file tax
18   returns, and hire and manage professionals and business consultants. There are
19   pending (to our knowledge currently) multiple civil and criminal lawsuits in
20   California and in other jurisdictions, which require finding and engaging appropriate
21   counsel to handle the multiple legal issues contained in each of the lawsuits. In fact,
22   I was recently “served” with a summons and complaint for a new civil action, which
23   requires that I find and engage appropriate counsel to handle the multiple legal
24   issues contained in that lawsuit as well. There are innumerable business and legal
25   issues concerning Britney’s business affairs that require immediate attention and
26   providing direction to professionals, with the appropriate guidance and oversight to
27   them. Significant among the legal issues is the ongoing family law proceedings in
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